     Case
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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                          Plaintiff,                   )
                                                         )
10            v.                                         )          2:10-CR-281-KJD (PAL)
                                                         )
11    MICHAEL CAPODICI,                                  )
                                                         )
12                          Defendant.                   )

13
                                         ORDER OF FORFEITURE
14

15            This Court finds that on September 27, 2011, defendant MICHAEL CAPODICI, pled guilty

16    to Count One of a Thirteen-Count Criminal Indictment charging him in Count One with Conspiracy

17    to Commit Bank Fraud in violation of Title 18, United States Code, Sections 1344 and 1349 and

18    agreed to the forfeiture of property set forth in the Forfeiture Allegations in the Criminal Indictment

19    and agreed to in the Plea Memorandum. Docket #1, #92, #93.

20            This Court finds that MICHAEL CAPODICI shall pay a criminal forfeiture money judgment

21    of $160,000.00 in United States Currency to the United States of America, pursuant to Fed. R. Crim.

22    P. 32.2(b)(1) and (2); Title 18, United States Code, Section 982 (a)(2); and Title 18, United States

23    Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

24    ...

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     Case
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 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
 2    States recover from MICHAEL CAPODICI a criminal forfeiture money judgment in the amount of
 3    $160,000.00 in United States Currency.
 4                14 day of __________________,
      DATED this ______        December         2011.
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 7                                             UNITED STATES DISTRICT JUDGE
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     Case
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 1                                          PROOF OF SERVICE
 2           I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the
 3    following individuals were served with a copy of the foregoing on December 13, 2011, by the
 4    below identified method of service:
 5           CM/ECF:
 6    Richard F Boulware
      Federal Public Defender
 7    411 E. Bonneville
      Las Vegas, NV 89101
 8    Email: Richard_Boulware@fd.org
      Attorney for the Defendant Michael Capodici
 9

10    Monique N. Kirtley
      Federal Public Defender
11    411 E Bonneville Suite 250
      Las Vegas, NV 89101-
12    Email: Monique_Kirtley@fd.org
      Attorney for the Defendant Michael Capodici
13

14    William H Brown
      William H. Brown, LTD.
15    6029 S. Ft. Apache Rd., Suite 100
      Las Vegas, NV 89148
16    Email: will@whbesq.com
      Attorney for the Defendant Linda Marie Kot
17

18    David T. Brown
      Brown, Brown & Premsrirut
19    520 S 4th Street 2nd Fl.
      Las Vegas, NV 89101
20    Email: master@brownlawlv.com
      Attorney for the Defendant Jeffrey Palladino
21
      James J Warner
22    3233 Third Ave
      San Diego, CA 92103
23    Email: jjwarner@jwarnerlaw.com
      Attorney for the Defendant Michael Blair
24

25
                                                   /s/ Elizabeth Baechler-Warren
26                                                 Elizabeth Baechler-Warren
                                                   Forfeiture Support Associate Paralegal




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